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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL



   Case No: SA CV 22-01800-DOC-(DFMx)                        Date: June 26, 2023

   Title: Fitness International, LLC v. Leah Alspaugh, et al.



 PRESENT: THE HONORABLE DAVID O. CARTER, UNITED STATES DISTRICT JUDGE

            Karlen Dubon                                    Court Smart
            Courtroom Clerk                                Court Reporter

         ATTORNEYS PRESENT FOR                        ATTORNEYS PRESENT FOR
                 PLAINTIFF:                                DEFENDANT:
            Christine C. DeMetruis                         No Appearance



   PROCEEDINGS:                STATUS CONFERENCE
         Defendant failed to appear. The case is called.

         Plaintiff reports the defendant's further violations of the Permanent Injunction

   (Dkt.81). For reasons as stated on the record, the Court finds that the defendant, Leah

   Alspaugh, is in contempt of Court by way of continued violation of the Court's May 8,

   2023 Permanent Injunction (Dkt.81) and failure to appear.

         The Court hereby ORDERS the issuance of a WARRANT based upon the Order re

   Civil Contempt dated June 16, 2023 (Dkt. 98).

         Defendant is to be brought before District Judge David O. Carter within 24 hours of

   being taken into custody.

   cc:   USM
         CrimIntakeCourtDocs-SA                                                    :     12
         <CrimIntakeCourtDocs-SA@cacd.uscourts.gov>
                                                                   Initials of Deputy Clerk: kdu
